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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 Information Images LLC,                              Case No. 6:20-CV-00268-ADA


              Plaintiff,

v.

PGA TOUR, Inc.,


       Defendant.
_________________________________/


                             Defendant PGA TOUR’s Motion For
                           Summary Judgment Of Noninfringement
                           And Invalidity Under Sections 101 and 112




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I.       INTRODUCTION

         Defendant PGA TOUR uses a system called ShotLink to collect and determine various

types of information about golf shots during a golf tournament, such as the location of the ball

after it has been hit. That ShotLink data is then used in a variety of ways. For example, it is sent

to third parties who have licensed the data from PGA TOUR for their own use. The ShotLink data

is also sent to a separate division at PGA TOUR that creates other software, such as TOURCast,

that enables members of the public to view ShotLink data on their computers and phones through

PGA TOUR’s website and PGA TOUR’s mobile app for smartphones.

         The two asserted patents here claim a system and method with three primary components:

(1) a “first portable device” used by an authorized spotter to input information about golf shots

during a golf tournament; (2) a “production module” (essentially a server computer) that receives

the input data over a wireless network, and (3) a “second portable device” carried by a patron of

the tournament (referred to in the claims of the ‘552 patent as a “user viewing the tournament”) to

obtain that data over the wireless network from the production module and view it.

         A notable requirement for the second (i.e., patron’s/user’s) portable device that is found in

all the asserted independent claims is that the device include endorsements of participants of the

golf tournament by manufacturers of equipment used by the participants, such as an endorsement

of a golfer by the manufacturer of the golf clubs he uses.

         PGA TOUR is entitled to summary judgment of noninfringement for several reasons. First,

PGA TOUR has licensed its ShotLink data to a third party, IMG Arena. PGA TOUR sends

ShotLink data to IMG Arena in return for a fee. As a standalone component of its infringement

damages, Plaintiff is seeking a portion of those fees. However, the creation of the ShotLink data

and transmission of it to IMG Arena is noninfringing as a matter of law because there is no second



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(patron’s/user’s) portable device used in connection with IMG Arena at all, let alone a second

portable device with the required endorsement information.

         Plaintiff also asserts that PGA TOUR infringes by the combination of PGA TOUR using

its ShotLink data collection system (allegedly meeting the first portable device and production

module limitations) with members of the public using their computers or phones to access the

ShotLink data using PGA TOUR’s website and mobile app (allegedly meeting the second portable

device limitation). PGA TOUR is entitled to summary judgment on that alleged infringement too

because the alleged first portable devices are used by PGA TOUR personnel, but the second

portable devices are used by members of the public, not PGA TOUR -- a “divided infringement”

problem.

         Independently, PGA TOUR is entitled to summary judgment of noninfringement because

all the claims require the spotter to input the “condition of the ball” as part of the input data. The

Court has construed “condition of the ball” to mean the physical state of the ball, and the

specification provides an example of the ball being “clean” or “dirty.” PGA TOUR’s ShotLink

system does not include any input of the condition of the ball.

         PGA TOUR is also entitled to summary judgment on invalidity. The Federal Circuit has

held that gathering, processing, and distributing data is not patentable subject matter unless it

involves a technological innovation. There is no technological invention here. Instead,

conventional components – commercially available handheld devices communicating over an

ordinary wireless network with an ordinary computer server -- are being used in their expected

manner to gather, process, and distribute data without any special hardware or other technological

innovation.




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         Finally, several claim elements are not disclosed in the specification, running afoul of the

written description requirement.

II.      FACTS

         A.       Plaintiff’s Patents And The Claimed Invention

         Plaintiff is asserting Patent No. 9,806,832 (the “’832 patent”) and its continuation, Patent

No. 10,270,552 (the “’552 patent”). The perceived problem that the patents allegedly solve is that

at “golf tournaments, it is difficult for spectators to get real-time information about the status [of]

players who may be a great distance away from where the spectator is watching, or may not be

visible at all.” Ex. 1, ’832 patent at 1:26-30; Ex. 2, ’552 patent at 1:28-30; Ex. 3, Valerdi

Infringement Report ¶ 63.1 To address that problem, the patents disclose “systems and methods

of gathering, processing, and broadcasting real-time information of the sporting event to portable

devices carried by spectators of the sporting event.” Ex. 1 at 1:41-45. Consequently, the preambles

of all four asserted independent claims (claims 1 and 5 of the ‘832 patent and claims 1 and 13 of

the ‘552 patent) recite a system or method “of gathering, processing, and distributing information

of a golf tournament over a wireless network.” Ex. 1 at 15:19-20, 16:14-15; Ex. 2 at 15:20-21,

16:49-50.

         Three significant components of the alleged invention are:

         (1) A portable device used by an authorized “spotter” to input data about the golf ball after

it has been hit (the “gathering” of the information). The claims refer to this device as the “first

portable device.” Ex. 1 at claim 1.




1
 Unless otherwise indicated, citations to numbered exhibits are to the exhibits attached to the
contemporaneously-filed Declaration of David Brafman in Support of PGA TOUR’s Motion for
Summary Judgment.

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         (2) A portable device used by patrons of the tournament to request and receive input data

from the production module over the wireless network (the “distributing” of the information). The

claims refer to this device as the “second portable device.” Id. And

         (3) A “production module” (essentially a back-end computer server which includes a

“processing module”) that receives the input data from the first portable device over a wireless

network and distributes it in response to queries (the “processing” of the information). Id.

         These three components and their communication of data over the wireless network are

depicted in Figure 32:




Ex. 1 at Fig. 32.




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         The first (spotter’s) portable device, the second (patron’s) portable device, and the

production module with processing module are all required by each of the asserted independent

claims. For example, asserted claim 1 from the ‘823 patent states:

         1. A system of gathering, processing, and distributing information of a golf
         tournament over a wireless network, comprising:

         [i.] a first portable device configured to be carried by a broadcast or other
         authorized spotter of the golf tournament …

         - the first portable device including a map of the golf course,

         - the first portable device being configured to receive input data from the spotter
         regarding status of a selected player's golf ball during the golf tournament in real
         time after the golf ball has been hit …

         - the first portable device being configured to present information regarding the
         location and distance of the selected player's ball relative to the map of the golf
         course in real time after the ball has been hit by the selected player,

         - the input data including information pertaining to the lie and the condition of the
         golf ball being tracked by the spotter and the selected player's strokes as they occur,

         - the first portable device being configured to transmit the input data over the
         wireless network in real time during the golf tournament;

         [ii.] a second portable device carried by a patron of the golf tournament to
         receive transmitted input data over the wireless network, and to selectively
         display current statistics pertaining to the selected hole and graphical
         representations of the transmitted input data according to an input from the patron,
         the second portable device comprising a memory with pre-programmed
         information stored therein, the pre-programmed information including
         endorsements of respective participants of the golf tournament by manufacturers
         of equipment used by the respective participants of the golf tournament; and

         [iii.] a production module configured to

         - receive transmitted input data over the wireless network simultaneously from a
         plurality of spotters covering various players of the golf tournament,

         - the production module being configured to display transmitted input data such
         that the production module selectively distributes a portion of the transmitted
         input data to an external television network based on characteristics of
         displayed input data,


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         - the production module having a processing module connected between the
         production module and the wireless network, the processing module configured

                - to receive data requests over the wireless network simultaneously from a
              plurality of second portable devices and

                - to distribute requested data to each second portable device over the
              wireless network based on received data requests from each second portable
              device, respectively.

Ex. 1 at 15:19-16:4 (formatting and emphases added). The remaining asserted independent claim

from the ‘832 patent is claim 5, which is a corresponding method claim. The asserted claims from

the ‘552 patent, claims 1 and 13, are very similar to claims 1 and 5 of the ‘832 patent, respectively.

         B.     PGA TOUR’s ShotLink System

         ShotLink is PGA TOUR’s system for capturing and determining information about golf

shots during golf tournaments. A variety of equipment and personnel are used to determine and

calculate data such as the path of the ball through the air, the speed of the ball during flight, and

the location of the ball after it comes to rest. That data is aggregated and then distributed for use

by PGA TOUR’s Digital Operations team as well as by third parties who have licensed the data.

Lovell Decl. ¶ 2. 2

         PGA TOUR’s Digital Operations team is responsible for creating the digital platforms that

golf fans can use to interact with PGA TOUR electronically. These platforms include PGA

TOUR’s website (www.pgatour.com) and PGA TOUR’s mobile app for iPhones and Android

devices. Lovell Decl. ¶ 3.

         The public generally cannot access ShotLink. However, one of the Digital Operations

platforms is called TOURCast, which can be found on pgatour.com and within the PGA TOUR



2
 The Declaration of Walter Kenneth Lovell In Support of Defendant’s Motion for Summary
Judgement is contemporaneously-filed and referred to herein as “Lovell Decl.”

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mobile app. By using their computers or phones to access TOURCast, the public can view data

that originated from ShotLink, such as by viewing shot trails showing the path of a golf shot.

Lovell Decl. ¶ 5.

         C.     PGA TOUR’s Agreement With IMG Arena

         PGA TOUR has a contract with a company in Europe known as IMG Arena that includes

a license to certain ShotLink data. In connection with the contract, PGA TOUR sends IMG Arena

data from the ShotLink system during golf tournaments. IMG Arena is then permitted to use the

data for its own business purposes, which relate to sports betting. Lovell Decl. ¶ 6.

         Critically, PGA TOUR’s performance of its contractual obligations with IMG Arena does

not involve a second (patron’s/user’s) portable device in any way. PGA TOUR uses its ShotLink

system to obtain data about golf shots during the golf tournament, and then provides the data to

IMG Arena. There simply is no “second portable device” as required by the claims – that is, a

portable device carried by patrons of the golf tournament/users viewing the tournament, let alone

one that includes the required equipment manufacturer endorsements. Lovell Decl. ¶ 7; Ex. 4,

Valerdi Dep. 206:2-7.

         Indeed, not only does PGA TOUR have nothing to do with a second portable device in

connection with IMG Arena, but there is not even any evidence that IMG Arena does anything in

connection with a “second portable device” that meets the requirements of the claims:

         Q. Okay. Is there any evidence that you're aware of that anyone in connection with
         IMG Arena accesses ShotLink data over a second portable device that meets all the
         requirements of the claims?

         MR. BARR:· Object to form.

         THE WITNESS:· Not that I am aware of.

Ex. 4, Valerdi Dep. 206:2-7.



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         D.     The Accused Products And Alleged Damages From Infringement

         Plaintiff alleges that PGA TOUR is infringing in two ways. First, by using its ShotLink

system to collect data at golf tournaments and then licensing and sending the data to IMG Arena.

See Ex. 5 ¶ 9; Ex. 6 at 55:1-21. Second, by the combination of using the ShotLink system with

members of the public using their computers and phones to access PGA TOUR’s website or PGA

TOUR’s mobile app to view the ShotLink data. See Ex. 4, Valerdi Dep. 64:2-8.

         Plaintiff’s damages claim has two corresponding components. First, Plaintiff is seeking a

lump-sum royalty from the fees that IMG Arena pays PGA TOUR under the IMG Arena contract.

Ex. 5, Blok Expert Report ¶ 9; Ex. 6, Blok Dep. 55:1-21. Second, Plaintiff is a running royalty

based on the number of unique users per month who access PGA TOUR’s website and mobile

app. Ex. 5, Blok Expert Report ¶ 8; Ex. 6, Blok Dep. 26:23-27:11.


III.     SUMMARY JUDGMENT STANDARD

         “Summary judgment is appropriate if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” See Flash-Control,

LLC v. Intel Corp., No. 1:19-CV-01107-ADA, 2020 WL 4561591, at *2 (W.D. Tex. July 21,

2020), aff'd, No. 2020-2141, 2021 WL 2944592 (Fed. Cir. July 14, 2021). “A dispute concerning

a material fact is genuine, and therefore sufficient to overcome a summary judgment motion, if the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.”

Heartbrand Holdings, Inc. v. Whitmer, No. SA-19-CV-358-HJB, 2021 WL 1947875, at *2 (W.D.

Tex. May 14, 2021) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)) (internal

citations omitted).




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IV.      ARGUMENT

         A.     PGA Tour’s Fulfillment Of The IMG Arena Contract Is Noninfringing
                Because It Entirely Omits The Required Second Portable Device

         Plaintiff asserts that PGA TOUR’s actions in licensing and distributing ShotLink data to

IMG Arena infringe the asserted patents. Thus, as an independent component of infringement

damages, Plaintiff is seeking a “separate, lump-sum royalty” from the revenues PGA TOUR is

expected to receive under the IMG Arena contract for “distributing and licensing ShotLink data

for betting purposes.” See Ex. 5, Blok Report ¶¶ 8-9; Ex. 6, Blok Dep at 55:1-21

         Plaintiff should not be permitted to seek damages in connection with the IMG Arena

contract because it is undisputed that PGA TOUR’s licensing and distribution of ShotLink data to

IMG Arena entirely omits any use of the “second portable device” that is required by all the

asserted patent claims. See Lovell Decl. ¶ 7; Ex. 4, Valerdi Dep. 206:2-7. Because there is no

evidence of the required “second portable device” in connection with the IMG Arena contract,

PGA TOUR is entitled to partial summary judgment of noninfringement, eliminating that contract

and the lump-sum royalty being sought by Plaintiff on that contract from the case.

         More particularly, all four asserted independent claims require a second portable device

carried by a patron/user viewing the golf tournament that both (a) receives over a wireless network

data about the golf tournament that had been input by a spotter into a first portable device, and (b)

either displays or has in memory endorsements of golf tournament participants by manufactures

of equipment used by those participants (for example, as an endorsement of a golfer by the

manufacturer of the golf clubs he uses):

         ‘832 patent claim 1: A system … comprising: a first portable device … being
         configured to receive input data from the spotter regarding status of a selected
         player’s golf ball …; a second portable device carried by a patron of the sporting
         event to receive transmitted input data over the wireless network, … the second
         portable device comprising a memory with pre-programmed information stored


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         therein, the pre-programmed information including endorsements of respective
         participants of the golf tournament by manufacturers of equipment used by the
         respective participants of the golf tournament; …

         ‘832 patent claim 5: A method … comprising: providing a first portable device to
         be carried by a … spotter; inputting data by the spotter to the first portable
         device …; transmitting input data over the wireless network to a second portable
         device carried by a patron of the golf tournament in real time during the golf
         tournament, the second portable device comprising a memory with pre-
         programmed information stored therein, the pre-programmed information
         including endorsements of respective participants of the golf tournament by
         manufacturers of equipment used by the respective participants of the golf
         tournament; …

         ‘552 patent Claim 1: A system … comprising: a first portable device … being
         configured to receive input data from the spotter regarding status of a selected
         player’s golf ball …; a second portable device carried by a user viewing the golf
         tournament to receive distributed input data over the wireless network, … the
         second portable device being configured to display preprogrammed information
         … including endorsement information of manufacturers of equipment used by the
         respective participants of the golf tournament; …

         ‘552 patent Claim 13: A method … comprising: providing a first portable device
         …; inputting data by the spotter to the first portable device …; distributing
         input data over the wireless network to a second portable device carried by a user
         in real time during the golf tournament, the second portable device being
         configured to display endorsement information … including endorsements of
         respective participants of the golf tournament by manufacturers of equipment used
         by the respective participants of the golf tournament; …

Ex. 1, ’832 patent at claims 1 and 5; Ex. 2, ’552 patent at claims 1 and 13.

         In connection with the IMG Arena agreement, PGA TOUR collects data concerning the

golf tournament using its ShotLink system and transmits that data to IMG Arena. Neither step

involves a “second portable device carried by a patron/user” – let alone one that receives the input

data over a wireless network and contains or displays endorsement information of participants in

the tournament by manufacturers of equipment used by the participants, as the claims require.

Lovell Decl. ¶¶ 6-7.




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         Notably, Plaintiff’s expert on infringement, Dr. Valerdi, admitted in his deposition that he

is not aware of any evidence of a “second portable device” in connection with the PGA

TOUR/IMG Arena contract, and that he has no opinion about whether PGA TOUR’s fulfilment of

its obligations to IMG Arena involves a “second portable device”:

         Q. Okay. And in connection with this agreement, PGA Tour supplies IMG Arena
         with data that's collected from the ShotLink system, correct?

         A. That's my understanding.

         Q. Okay. The collection of data performed by the ShotLink system does not
         involve a second portable device, correct?

         MR. BARR: Object to form.

         THE WITNESS: Yeah, I could agree with that.

         …
         Q. ... Is it your understanding that the IMG Arena requires PGA Tour to send data
         gathered by the ShotLink system to IMG Arena?

         A. Yes, generally my understanding is that is one of the things they are doing.

         Q. Okay. Do you have any basis for concluding that there is a second portable
         device as required by the claims that is needed or used in conjunction with what
         PGA Tour does for IMG Arena?

         MR. BARR: Object to form.

         …
         THE WITNESS: Okay. You've asked me about the IMG agreement, and I'm just
         turning to that page of my report to refresh my memory. Okay. I have turned to that
         section of my report. I have a -- I have refreshed my recollection on my opinion
         related to the IMG agreement, and I'm happy to answer any questions about that
         section of my report.

         Q. Okay. Well, maybe you don't have an opinion on this. Maybe -- because I don't
         know that it's in your report. So let me just ask you, do you have an opinion as to
         whether or not there is use of a second portable device in conjunction with
         PGA Tour's obligations and fulfilling its obligation to IMG Arena?

         A. I didn't opine on that or include anything of that nature in my report, so I
         do not have an opinion.


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         …
         Q. Is there any evidence that you're aware of that anyone in connection with
         IMG Arena accesses ShotLink data over a second portable device that meets
         all the requirements of the claims?

         MR. BARR: Object to form.

         THE WITNESS: Not that I am aware of.

Ex. 4, Valerdi Dep. 143:10-18, 146:11-20, 147:4-19; 206:2-7 (emphases added).

         Because there is no “second portable device” meeting the requirements of the asserted

claims in connection with anything PGA TOUR does for IMG Arena under the IMG Arena

contract, Plaintiff is not entitled to a portion of the fees PGA TOUR receives under that contract

as reasonable royalty damages as a matter of law.

         B.     The Asserted Claims Are Not Infringed Because It Is Third Party Golf Fans,
                Not PGA TOUR, That Own And Use The Required “Second Portable Device”

         PGA TOUR is also entitled to summary judgment of noninfringement in connection with

the second category of alleged infringement, which is the combination of PGA TOUR’s use of the

ShotLink system to collect data at golf tournaments with members of the public using their portable

devices like phones or laptops to view ShotLink data on PGA TOUR’s website or mobile app. Ex.

4, Valerdi Dep. 61:23-63:4, 64:2-8. Here, Plaintiffs have a divided infringement problem.

                     1.       The Asserted Independent Apparatus Claims

         Plaintiff is asserting one independent apparatus claim and one independent method claim

from each of the ‘832 and ‘552 patents. Claim 1 in each patent are the apparatus claims, and they

are nearly identical. Claim 1 of both patents require: (1) a “first portable device configured to be

carried by … a spotter of the golf tournament” for inputting data about golf shots; (2) a “second

portable device” carried by a patron of the sporting event (‘823 patent claim language) or by a user

viewing the golf tournament (‘552 patent claim language); and (3) a “production module” that


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receives input data from a plurality of spotters and distributes the input data to second portable

devices in response to data requests from the second portable devices. See Ex. 1, ’832 patent at

claim 1; Ex. 2, ’552 patent at claim 1.

         Plaintiff alleges that various components of PGA TOUR’s ShotLink data collection system

used by ShotLink personnel meet the “first portable device” limitation, and that various back-end

components of PGA TOUR’s ShotLink system meet the “production module” limitation. Ex. 3,

Valerdi Infringement Report at 59 and ¶¶ 27, 75; Ex. 4, Valerdi Dep. 72:13-73:3, 109:5-111:13.

However, the “second portable device configured to be carried” by a patron of the sporting event

(or a user viewing the golf tournament) is something owned and operated by a member of the

public, namely a smartphone, laptop, or other portable device used by the patron/user to access

PGA TOUR’s website or to run PGA’s mobile app to view data that originated from ShotLink.

E.g., Ex. 4, Valerdi Dep. at 61:23-63:4 (examples of the “second portable device” include a

user’s/patron’s Apple iPhone or laptop computer, such as Plaintiff’s expert’s own iPhone). Thus,

two of the limitations are components used by PGA TOUR, but the “second portable device”

component is used by members of the public.

         For there to be infringement of an apparatus claim by use, there needs to be a single party

using all elements of the claimed system. Centillion Data Systems LLC v. Qwest Communications

International Inc., 631 F.3d 1279, 1284 (Fed. Cir. 2011); see also Acceleration Bay LLC v. 2K

Sports, Inc., 15 F.4th 1069, 1074 (Fed. Cir. 2021) (upholding the district court’s finding that

“making a system under § 271(a) requires a single entity to combine all the claim elements and

that, if a customer, rather than an accused infringer, performs the final step to assemble the system,

then the accused infringer has not infringed.”). For purposes of infringement, use of the system

requires a party to “control the system as a whole and obtain benefit from it.” Id..



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         In Centillion, the patent disclosed a “system for collecting, processing, and delivering

information from a services provider … to a customer.” Id. at 1281. Three of the four claim

elements concerned the “back-end” system maintained by the service provider (Qwest), but the

last claim limitation was directed to the front-end personal computer used by the user (Qwest’s

customer). Id. Even though Qwest operated the back-end system meeting the first three claim

limitations, and even though Qwest provided the software that customers used on their personal

computers in connection with the final limitation, the Federal Circuit held there was no

infringement because it was the customer, not Qwest, that put the personal computer required by

the fourth claim limitation into use. Id. at 1286-87. “Supplying the software for the customer to

use is not the same as using the system.” Id. at 1286.

         The apparatus claims here are analogous to the claim in Centillion. Even assuming

arguendo that PGA TOUR operates components that meet the “first (spotter’s) portable device”

and the “production module” limitations as alleged by Plaintiff, PGA TOUR does not put into use

the patron’s/user’s smartphone or other portable device that constitutes the “second portable

device.” Under Plaintiff’s infringement allegations, PGA TOUR controls the first portable device,

but members of the public control the second portable device. See Ex. 4, Valerdi Dep. 64:2-8. Just

as in Centillion, that is so even if the patron/user runs the PGA TOUR mobile app software or

accesses the PGA TOUR website on his or her second portable device. It is still the member of the

public that is putting his or her portable device into use, not PGA TOUR. See also Acceleration

Bay, 15 F.4th at 1078 (Fed. Cir. 2021) (rejecting patent owner’s argument that although the video

game manufacturer defendant did not make the hardware that customers used to play the accused

video games, there was direct infringement because the defendant’s accused software caused the

processors in the customer’s consoles to act in a way that satisfies the elements of the asserted



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claim; holding “The customer, not [the software-supplying defendant], completes the system by

providing the [hardware component] and installing the client software.”)

         Consequently, PGA TOUR is entitled to summary judgment of noninfringement on the

asserted apparatus claims.

                       2.        The Asserted Independent Method Claims

         The remaining asserted independent claims, claim 5 in the ‘832 patent and claim 13 in the

‘552 patent, are similar method claims. Both recite some steps that Plaintiff alleges are performed

by PGA TOUR personnel, such as “providing a first portable device to be carried by a …

spotter…” and “inputting data by the spotter to the first portable device regarding status of a

player’s golf ball …” Ex. 1, ’832 patent at 16:17-34; Ex. 2, ’552 patent at 16:52-67; Ex. 3, Valerdi

Infringement Report ¶¶ 68, 72, 75. However, at least the last limitation of these claims require a

step that is performed by the patron’s/user’s second portable device and the patron/user operating

it. Specifically, the second portable device must selectively display graphical representations of

certain information according to inquiries of the patron/user. For example, claim 13 in the ‘552

patent recites:

         13. A method … comprising …

         …

         inputting data by the spotter to the first portable device regarding status of a player’s
         golf ball … [a step to be performed by PGA Tour personnel operating PGA
         TOUR’s alleged first portable device]

         …. and

         selectively displaying graphical representations of the transmitted data and
         endorsement information on the second portable device according to inquiries of
         the user. [a step to be performed by a member of the public’s operation of his/her
         second portable device].




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Ex. 2, ’522 patent at 16:49-28. Claim 5 from the ‘832 patent is similar, but omits the phrase “and

endorsement information.”

         For there to be infringement, all the steps of a method claim must be attributed to a single

actor. See Travel Sentry, Inc. v. Tropp, 877 F.3d 1370, 1376 (Fed. Cir. 2017). “Where more than

one actor is involved in practicing the steps, a court must determine whether the acts of one are

attributable to the other such that a single entity is responsible for the infringement.” Akamai

Technologies, Inc. v. Limelight Networks, Inc., 797 F.3d 1020, 1022 (Fed. Cir. 2015) (en banc).

Plaintiff must have evidence sufficient for a jury to find “either (1) one party exercises the requisite

‘direction and control’ over the other’s performance or (2) the actors form a joint enterprise such

that performance of every step is attributable to the controlling party.” Gabriel de la Vega v.

Microsoft Corp., Case No. W-19-CV-0612-ADA, slip op. at 6 (W.D. Tex. Feb 7, 2020) (Albright,

J.) (attached as Ex. 7).

         Plaintiff’s expert on infringement opines that some steps in these method claims are

performed by PGA TOUR’s personnel, such as an authorized tablet operator performing the step

of “inputting data by the spotter to the first portable device regarding status of a player’ golf ball

during the golf tournament in real time …” See Ex. 3, Valerdi Infringement Report at 76, 187. But

the expert acknowledges that at least the last step of “selectively displaying graphic representations

… on the second portable device according to inquiries of the user” is performed by the second

portable device, owned and operated by the patron/user that is a member of the public. See id. at

209 (“My inspection of the ShotLink source code confirms that the second portable device

displays endorsements of the respective participants of the golf tournament.”); see also id. at 95

(relying on screenshot from patron’s second portable device in support of meeting the limitation




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“selectively displaying graphic representations of the transmitted data on the second portable

device according to inquiries of the patron” in claim 5 of the ‘832 patent).

         Thus, the steps required by the asserted method claims are performed by multiple actors –

the PGA TOUR personnel operating the alleged first portable devices, and the patrons/users

operating the alleged second portable devices. Yet Plaintiff’s expert provides no analysis or

evidence that would support a jury finding that PGA TOUR exercises the ‘direction and control’

over the patron’s/user’s actions that is necessary to attribute the patron’s/user’s actions to PGA

TOUR. The expert merely conclusory states, “Defendant owns, controls, and makes beneficial

use of each element of the system claims and performs or causes to be performed through

contractual relationships each step of the method claims” – an unsupported recitation of the legal

standard. Id. at 78. Plaintiff’s infringement expert fails to disclose the basis for this bare opinion,

and in fact, there is no evidence supporting it. Id.

         Because Plaintiff does not have evidence sufficient to support a jury verdict of infringement

of the asserted method claims in light of the claims requiring different steps to be performed by

different actors, PGA TOUR is entitled to summary judgment on them.

         C.     PGA TOUR Does Not Infringe Because Its ShotLink System Does Not Include
                The Input Of The “Condition Of The Ball”

         All of the asserted claims require a spotter to input several items of data that include the

“condition of the ball” – construed by the Court to mean “physical state of the ball” – into a first

portable device. Ex. 1, ’832 patent at 15:37-38, 16:32-33, 17:29; Ex. 2, ’552 at 15:38, 16:66, 18:8.

PGA TOUR simply does not input the condition/physical state of the ball into its accused ShotLink

system. Lovell Dec. ¶¶ 8-9. Because the accused system does not include input of the condition of

the ball, PGA TOUR cannot be found to infringe any of the asserted claims.




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         Plaintiff’s infringement expert Dr. Valerdi, who is a technology expert but not a golf expert,

(Ex. 4, Valerdi Dep. 12:20-13:1), opines that the inclusion of information about the location of the

ball, and the alleged inclusion of information about the lie of the ball, meets the separate claim

requirement for information about the “condition of the ball.” Ex. 3, Valerdi Infringement Report

at 45-46, 81, 192-193. In reaching that conclusion, Dr. Valerdi relies upon a conversation he had

with a third party named Jay Goble about the scope of the phrases “condition of the ball” and

“physical state of the ball.” See id. at 8, 45-46, 48, 81, 147, 192-93. Mr. Goble is apparently a golf

coach who was introduced to Dr. Valerdi by Plaintiff’s counsel. Ex. 4, Valerdi Dep. 69:7-10. Dr.

Valerdi relies on Mr. Goble’s alleged but unexplained views that “the condition of the ball

includes the lie, for instance, whether the ball is in a bunker, whether the ball is in a divot, or

whether the ball is in the water.” Ex. 3, Valerdi Infringement Report at 45-46 (emphasis added).

Dr. Valerdi also relies on Mr. Goble’s remarkable further views that the phrases “on tee”, “landing

area,” and “around the green,” which he admits “are locations where the golf ball could be on the

golf course,” are descriptions of the physical state of the ball. See Ex. 3, Valerdi Infringement

Report at 45-46 (emphasis added).

         In the contemporaneously-filed Daubert motion regarding Dr. Valerdi, PGA TOUR is

moving to have Dr. Valerdi’s opinion about “condition of the ball” stricken for improper reliance

on Mr. Goble’s hearsay statements. For the reasons set forth in the Daubert motion, Dr. Valerdi’s

reliance on Mr. Goble’s hearsay violates Rule 703 and lacks the reliability required in expert

testimony. Even apart from those issues, however, Dr. Valerdi’s resulting opinion that data about

the location of the ball or the lie of the ball satisfies the separate “condition of the ball”

requirement fails to raise a genuine issue of material fact. No reasonable jury could find that the

“condition of the ball” as construed by the Court refers to the location or lie of the ball.



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         First, Dr. Valerdi’s opinion that the “condition of the ball” is satisfied by data regarding

the lie or location of the ball contradicts the Court’s constructions. The Court has construed

“condition of the golf ball” to mean the “physical state of the ball,” and “lie” to mean “the physical

environment immediately adjacent to the golf ball in its current position.” See Ex. 3, Valerdi

Infringement Report at 13-14. Moreover, during the Markman hearing, the Court rejected

Plaintiff’s proposed construction that “condition of the ball” may mean “location or physical

state.” See Ex. 8, Markman Hr’g Tr. at 41:24-42:8, 44:16-19. Dr. Valerdi’s opinion that the

condition of the ball requirement is satisfied by data on the ball’s location and lie contradicts the

Court’s Markman rulings. Location and lie of the ball are plainly not the condition of the ball as

construed.

         Second, the independent claims themselves separately reference location, lie, and condition

of the ball, reinforcing that they are three different things. See, e.g., Ex. 1, ’832 patent at 15:33-

34 (“the location and distance of the selected player’s ball”), 15:37-38 (“the lie and the condition

of the golf ball”).

         Third, in describing the alleged invention, the specification itemizes various types of data

about the ball that a spotter may input into the first portable device. “Condition of the ball” is

listed separately from location and lie, again leaving no doubt that they are different attributes:

         The information is obtained from personnel (spotters) who have special permitted
         access to the course and players in order to track the location and distance of a
         player’s balls, including special knowledge regarding status of the event, for
         example, club selection, lie of the ball, condition of ball, distance from markers,
         length of putt, order of play, scores, etc., thus enabling the spotters to input
         information using the spotter’s portable device to the network for transmission to
         the patron portable devices ….

         …
         For example, the spotter can input information about the location, condition, and
         ‘lie’ of a particular player’s ball, the order of play …



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         …
         In some embodiments, the circuitry of the portable device used by the spotter is
         programmed to record and transmit various characteristics, such as but not limited
         to golfers appearance, golfers equipment, golfers ball general location, golfers ball
         GPS location, golfers ball condition, golfers strokes as they occur, golfers penalty
         strokes, the club which Golfers are to use, and time periods of golfers next action.

Ex. 1 at 6:27-42; 7:51-53, 8:7-14.

         Similarly, Figure 11 in the specification provides an example of a screen from a patron’s

“second portable device” stating that Player A’s ball is “Clean” and Player B’s ball is “Dirty” –

attributes of the condition/physical state of the ball, separate from the ball’s location or lie:




         There is still further evidence confirming that Plaintiff’s expert has not raised a genuine

issue of material fact by claiming that location and lie data are “condition of the ball.” The Rules

of Golf for 2019 (published jointly by the United States Golf Association and the R&A Rules

Limited) applies the term “condition” to golf equipment twice: once to a damaged golf club (“Have

the club repaired by restoring it as nearly as possible to its condition before the damage happened


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…”, Ex. 9 at 15); and once to a golf ball (“A player’s ball at rest may be identified … By finding

a ball with the same brand, model, number and condition as the player’s ball in an area where the

player’s ball is expected to be …”, id. at 41-42). In neither case is condition conflated with location

or lie; it refers specifically to the physical state of the club or ball itself. This usage is consistent

with the patent specification, in which “lie”, “location”, and “condition of the golf ball” are

explicitly differentiated as separate things. See Ex. 1, ’832 patent at 6:36-37, 7:51-52.

         Notably, the phrase “condition of the ball” is explicitly used to refer to such things as being

muddy or scuffed in the rules of at least one other sport. In cricket, ball tampering is the illegal

alteration of the “condition of the ball.” Ex. 10, Laws of Cricket, (stating that “[it] is an offence

for any player to take any action which changes the condition of the ball. Except in carrying out

his/her normal duties, a batter is not allowed to willfully damage the ball. A fielder may, however,

41.3.2.1 polish the ball on his/her clothing provided that no artificial substance is used and that

such polishing wastes no time. 41.3.2.2 remove mud from the ball under the supervision of an

umpire. 41.3.2.3 dry a wet ball on a piece of cloth that has been approved by the umpires.”); Ex.

15, Sydney Morning Herald Article, at PT-0007820 (“A ball may be polished, though not with an

artificial substance, dried with a towel if it is wet, and wiped clean of mud under supervision. Any

other action that changes the condition of the ball is against the rules.”)

         Finally, numerous PGA TOUR witnesses have testified, consistent with the Court’s

construction, that the condition of the ball refers to such things as whether the ball is dirty or

damaged, but not to the location or lie of the ball. See Ex. 11, Dennis Dep. 64:22-23, 84:11-18

(stating the condition of the ball refers to the “physical state of the ball” such as whether the ball

is “scratched or damaged or . . . scuffed.”); id. at 36:17-22, 91:7-11 (“Q. And you’re saying that

the spot where the ball is resting could never be termed the condition of the ball? A. Yeah, I’ve



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never heard anyone use that before”), 91:12-20 (“Q. Have you ever heard anyone use the definition

of whether the ball is dirty or clean or scuffed as the condition of the ball? A. Yeah -- yes, I have.

I mean, if someone asked me what the condition of my golf ball was, I would respond by

describing, you know, physical characteristics of it. So if it was dirty, I would say it was dirty. Or

if it had a cut on it, I would say it’s cut.”), 98:3-14 (“Q: But you’re not saying, are you, sir, that in

the context of the ’832 or the ’552 patent, that condition of the golf ball cannot mean the location

of -- include the location of the ball relative to the GPS survey? A. Yeah, I’m stating in the -- in

the context of playing golf, of people who would understand terms and, you know, definitions and

things like that, used in the game, that those -- those statements about condition of the golf ball

being the location of the ball relative to the GPS survey would not be something that I would

expect to hear from a golfer.”); Ex. 12, Lovell Dep. 211:8-12-23, 212:6-12 (condition of the ball

“describes the specifics of the ball itself, the condition of the outside, whether it’s scuffed, broken,

split, those kinds of things, the ball itself,” not the location of the ball).

         There is one final point to address with respect to condition of the ball. There are three

dependent claims in the asserted patents that include the limitation, “wherein the condition of the

ball includes a location of the ball relative to the GPS survey.” That contrived language, however,

should be ignored. As explained below in connection with invalidity, that claim language was

added during the prosecution of the ‘832 patent. Ex. 13, Aug. 5, 2013 Response to Office Action,

at 4 (adding new claim 10). However, the specification does not describe anywhere that the

condition of the ball includes a location of the ball relative to a GPS survey. By attempting to

artificially expand during prosecution what constitutes “condition of the ball,” the amendment

introduced new matter, making claims 9 and 14 of the ’832 patent and claim 18 in the ’552 patent

invalid under § 112 for lack of written description.



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          D.     All The Asserted Claims Are Invalid Under 35 U.S.C. § 101 For Claiming The
                 Abstract Idea Of Collecting, Processing, And Distributing Data Without A
                 Technological Invention

          All the asserted claims are invalid under 35 U.S.C. § 101 for claiming the abstract idea of

collecting, processing, and distributing data in a particular field (golf). See Alice Corp. v. CLS

Bank Int’l, 573 U.S. 208 (2014). The asserted claims here have no patentable difference from those

found by the Federal Circuit to be directed to ineligible subject matter in Electric Power Group,

LLC v. Alstom S.A., 830 F.3d 1350, 1351 (Fed. Cir. 2016). As in Electric Power, the claims here

“do not go beyond requiring the collection, analysis, and display of available information in a

particular field, stating those functions in general terms, without limiting them to technical means

for performing the functions that are arguably an advance over conventional computer and network

technology.” Electric Power, 830 F.3d at 1351.

                       1.       Alice Step One: The Asserted Claims Are Directed to an
                                Abstract Idea

          Claim 1 of the ‘832 patent is representative of the asserted independent claims. Although

wordy, it boils down to three well-known and conventional computing devices communicating

golf-related data over a conventional wireless network to do the conventional tasks of inputting

data from a particular field, transmitting the data from one device to another over the network,

requesting the data, and displaying it.

          Indeed, the claim begins by claiming a “system of gathering, processing, and distributing

information of a golf tournament over a wireless network, comprising.” Ex. 1, at Claim 1. The

other asserted independent claims (claim 5 of the ‘832 patent and claims 1 and 13 of the ‘552

patent) have almost identical preambles. This is the abstract idea that is carried throughout the

claims.



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         The claim then recites three components. The first is a “first portable device” to be carried

and used by a spotter to input data about a golf tournament and then transmit the data over a

wireless network. No particular method for determining the needed data (like the lie and condition

of the ball) is specified. This is the data collection, which is an abstract idea. Electric Power, 830

F.3d at 1353 (“Accordingly, we have treated collecting information, including when limited to

particular content (which does not change its character as information), as within the realm of

abstract ideas.”) (citations omitted).

         The second component is a “second portable device” carried by a patron of the tournament

(a member of the public) to receive the input data over the wireless network and display the data

according to the patron’s input. This is the abstract idea of distributing (and displaying) data,

which is an abstract idea. See Electric Power, 830 F.3d at 1354.

         Finally, the third component is a “production module” that receives input data over the

wireless network from the spotters, displays the data, receives data requests over the wireless

network from the second portable devices, and selectively distributes the data. This is processing

(i.e., analyzing) data, which is also an abstract idea. Electric Power, 830 F.3d at 1354 (“In a similar

vein, we have treated analyzing information by steps people go through in their minds, or by

mathematical algorithms, without more, as essentially mental processes within the abstract-idea

category.”) (citations omitted).

         The patent specification confirms that the claimed invention is an abstract idea:

“Embodiments of the present general inventive concept provide systems and methods of gathering,

processing, and broadcasting real-time information of the sporting event to portable devices carried

by spectators of the sporting event.” Ex. 1 at 1:41-45 (emphasis added); see also id. at 1:10-20

(“The present general inventive concept relates generally to an information gathering, processing,



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and broadcasting system, and more particularly, to a sports information gathering, processing, and

broadcasting system …”)

         That the claimed invention is an abstract idea was likewise confirmed by the inventor:

                Q. What idea did you come up with?

                A. The idea that's addressed in my patent.

                Q. How would you articulate what your idea was?

                A. The harvesting, processing, and gathering and -- and distribution of
                information.

Ex. 16, Long Dep., June 30, 2021, 54:18-22 (emphasis added).

         Still further, Plaintiff’s expert Dr. Valerdi has admitted that just as in Electric Power, the

claimed invention here is not an improvement to computer technology. In Dr. Valerdi’s words,

“The technology of the systems and methods of the Asserted Patents are related to sports

information gathering and broadcasting technologies, not on improving computer technology.”

Ex. 17, Valerdi Rebuttal Export Report ¶ 38. Indeed, as detailed below in connection with Step 2

of the Alice analysis, all of the components required by the claims are well-known, conventional

computer components. See Ex. 1, ’832 patent at 7:43-47 (the first and second portable devices can

be a conventional Apple iPod Touch), 8:19-27 (the production module is one or more on-site

generic computer servers, processors, and network interface equipment), Fig. 32 (depicting the

claimed components as conventional computer devices communicating on a conventional wireless

network at the golf course). “[T]he mere recitation of a generic computer cannot transform a

patent-ineligible abstract idea into a patent-eligible invention.” Alice, 573 U.S. at 223.

         Claim 1 of the ‘552 patent is nearly identical to claim 1 of the ‘832 patent. The remaining

two asserted independent claims are method claims that merely re-write claim 1 into method steps.

All four claims seek to claim the same abstract idea.


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         Thus, the asserted claims are not any different from those found to be directed towards an

abstract idea in Electric Power. The Federal Circuit determined that the focus of the “lengthy”

claims there was on the abstract idea of “collecting information, analyzing it, and displaying certain

results of the collection and analysis.” Electric Power, 830 F.3d at 1353-54. The asserted claims

here are likewise focused on the analogous abstract idea of collecting, processing, and distributing

the results of the collection and processing.

                      2.         Alice Step Two: The Asserted Claims Do Not Recite An
                                Inventive Concept

         “To save a patent at step two [of the § 101 analysis under Alice], an inventive concept must

be evident in the claims.” RecogniCorp, LLC v. Nintendo Co., 855 F.3d 1322, 1327 (Fed. Cir.

2017). The inventive concept must provide “significantly more” than the abstract idea itself. BSG

Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1289-90 (Fed. Cir. 2018). “Well understood, routine,

conventional” or “purely functional” claim elements cannot confer patent-eligibility. Alice, 134

S. Ct. at 2359-60; In re TLI Commc’ns Patent Litig., 823 F.3d 607, 611-12 (Fed. Cir. 2016).

         Here, again as in Electric Power, the asserted claims merely recite “off-the-shelf,

conventional computer, network, and display technology for gathering, sending, and presenting

the desired information,” thereby failing to recite an inventive concept. Electric Power, 830 F.3d

at 1355; see also USC IP P’ship, L.P. v. Facebook, Inc., 6-20-CV-00555-ADA, slip op. at 12

(W.D. Tex. Dec. 8, 2021) (“The asserted claims recite generic and well-known ‘web pages,’ ‘web

browsers’ and ‘databases’ that were well known in the prior art long before the filing of the ’300

patent in 2011”).

         The specification explicitly explains that each of the claimed portable devices can be

“commercially available device[s]” such as “an Apple iPod Touch”, and that the production

module is generically “one or more on-site, centrally located computer servers, processors, and


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interface equipment.” Ex. 1, ’823 patent at 7:43-47, 8:19-20. Indeed, the specification points out

that “the present general inventive concept is not limited to any particular number or type of

portable devices, or to any particular type of communications networks.” Id. at 8:24-27.

         Likewise, Plaintiff’s infringement expert testified that the first and second portable devices

can be “off-the-shelf commercial products,” the alleged invention doesn’t include “any kind of

special server or new, improved computer,” and the “wireless network is intended to include using

conventional wireless technologies.” Ex. 4, Valerdi Dep. 184:2-185:14. In sum, as Plaintiff’s

expert admitted, the claims only require conventional computer and network equipment:

         Q. Is there any piece of hardware, comp[uter] equipment or network equipment,
         required by the claims to be something other than a conventionally available piece
         of hardware?

         A. No, I don’t believe so.

Ex. 4, Valerdi Dep. 185:15-19; see also Ex. 18, Rule 30(b)(6) Long Dep., November 30, 2021,

18:10-20:5 (same).

         Furthermore, the asserted claims also do not recite an “ordered combination” that

“transform[s] the nature of the claim into a patent eligible application.” SRI Int’l, Inc. v. Cisco Sys.,

Inc., 930 F.3d 1295, 1304 (Fed. Cir. 2019). The claims set forth the basic tasks of collecting data,

processing it, and distributing it for display in their natural, obvious order dictated by the abstract

idea of collecting, processing, and distributing the information for display. See USC IP P’ship,

L.P. v. Facebook, Inc., Case No. 6-20-CV-00555-ADA, slip op. at 13 (W.D. Tex. Dec. 8, 2021)

(“the claims merely reflect a sequence performed in a logical order dictated by the abstract idea,

and does not ‘transform the nature of the claim into a patent-eligible application’ ‘as an ordered

combination.’”)




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         Likewise, all the steps and functions required by the claims are generic, ordinary computer

functions, such as a human (spotter) inputting golf tournament data into a portable device, which

then transmits data over a wireless network; a production module receiving the data and displaying,

processing, and distributing it in response to queries for the data; and another human being (the

patron/user) using another portable device to send the queries for the data, which is received and

displayed.    These are all generic computer tasks, and none need to be performed in an

unconventional way.

         Indeed, the inventor confirmed this. In a letter he wrote to attempt to interest the PGA

TOUR in his alleged invention, he wrote that his invention operates hardware components “in an

unconventional manner.” When asked at his deposition what he meant by operating the hardware

components in an unconventional manner, he responded, “Sounds like puffery.” Ex. 16, Long

Dep., June 30, 2021, 199:5-17.

         Thus, the asserted independent claims do not recite a “significantly more” inventive

concept.

         Furthermore, none of the dependent claims change this conclusion. They all either recite

a type of golf-related data to be collected or displayed, or additional conventional computer

arrangements, none of which transform the abstract idea into patent-eligible subject matter.

         For example, claim 2 of the ’832 patent recites that the portable devices are linked together

via the wireless network – something the specification conclusorily states without further

explanation. Ex. 1 at 2:1-2. Claim 3 of the ’832 patent and claim 4 of the ’552 patent just recite

that the portable devices are commercially available handheld devices. Claim 4 of the ’832 patent

recites that the wireless network is a local MESH network, which was well-known technology

already in use by PGA TOUR on golf courses before the patents’ priority date. See Ex. 4, Valerdi



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Dep. 164:8-24, 166:12-20; https://www.youtube.com/watch?v=NN6QUzFcSW8 at timestamps

5:04-5:30 (describing the MESH network on the golf course in a video dated Sept. 20, 2009). For

their part, claim 20 of the ’832 patent and claim 11 of the ’552 patent recite a generic user interface

for displaying data.     Thus, these dependent claims merely recite well-known conventional

computer devices and arrangements. Alice, 573 U.S. at 223.

         Claims 6 and 9 of the ’832 patent and Claims 5 and 14 of the ’552 patent add the acquisition

and use of global positioning system (GPS) data. However, “[a] GPS device is a well-known

generic computer element insufficient to make otherwise patent-ineligible subject matter

patentable.” Rothschild Location Techs. LLC v. Geotab USA, Inc., No. 6:15-cv00682, Op. at 6-7,

10, 12-13 (E.D. Tex. Jan. 4, 2016); Rothschild Location Techs. LLC v. Geotab USA, Inc., No. 6:15-

cv00682 (E.D. Tex. May 16, 2016) (adopting report and recommendation).

         Finally, the remaining dependent claims merely recite types of golf data that is input (claim

11 of the '832 patent) and displayed (claims 19 and 23 of the ’832 patent and claims 9 and 12 of

the ’552 patent). Specifying additional golf information to be collected, generically “processed,”

or displayed has no bearing on the patentability of the claims under § 101. See Electric Power 830

F.3d at 1355.

         Notably, Dr. Valerdi conclusorily asserts that the claimed invention provides improvement

to sports information and gathering and broadcasting technology by “improving the real-time

gathering and processing of input data through the simultaneous collection of input data and

enhancing the real-time distribution of requested data” and “improv[ing] the types, speed of

transmission, and accuracy of input data”. Ex. 17, Valerdi Rebuttal Expert Report ¶¶ 33-43. There

are two problems with this assertion.




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         First, the specification does not in fact disclose how to achieve “real-time” gathering and

processing of input data. All the specification does is conclusory state, repeatedly, that the

information is collected and provided “in real time,” without any explanation of how other than by

generic use of the conventional computer technology recited in the claims. See, e.g., Ex. 1 at 5:19-

22; 5:30-31; 6:39-40. Thus, this case is again like Electric Power. The asserted claims indicate

that “it is desirable to gather, analyze, and display [data], including in ‘real time’; but they do not

include any requirement for performing the claimed functions of gathering, analyzing, and

displaying in real time by use of anything but entirely conventional, generic technology.” Electric

Power, 830 F.3d at 1356.

         The same is true regarding the alleged improvement of “simultaneous collection of input

data.” There is no disclosure of how the invention achieves “simultaneous collection of input data”

other than by having numerous spotters around the golf course, as PGA TOUR had already been

doing with its ShotLink system before plaintiff’s priority date. See Ex. 1 at 7:34-38; Ex. 19, 2008

PGA TOUR Guide at 9-12. The alleged “real time” and “simultaneous” features are nothing more

than using conventional handheld devices to communicate data over a conventional wireless

network. See also Ex. 18 at 27:3-29:20.

         The second problem with Dr. Valerdi’s assertion regarding the alleged benefits of the

invention is that he ignores the fact that PGA TOUR’s ShotLink system predates the priority date

of the patents. Prior art ShotLink was already a real-time golf data gathering, processing, and

distributing system that used authorized personnel operating portable devices throughout the golf

course to collect and transmit data about the golf ball over a wireless network on the golf course

in real time after the ball was hit. See, e.g., Ex. 19 at 8-6, 9-12 (explaining in 2008 “ShotLink is a

revolutionary platform for collecting and disseminating scoring and statistical data on every shot



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by every player in real-time during every tournament round… Current uses of ShotLink data

include: … [p]owering mobile.pgatour.com, the PGA TOUR’s wireless application for use on

PDAs and cell phones … ShotLink was introduced during the 2001 Buick Classic [tournament]…

The ShotLink data is collected by volunteers utilizing a combination of handheld devices and

laser range finders.”) (emphases added); https://www.youtube.com/watch?v=NN6QUzFcSW8

(describing and showing ShotLink system as of September 2009, including authorized personnel

called walking scorers using handheld portable devices to collect data about golf shots in real time

and transmit the data over a wireless MESH network to servers in a trailer at the golf course); Ex.

20 (describing PGA TOUR’s 2004-2007 version of the TOURCast “application on

PGATOUR.COM”, winner of a “2005 Emmy Award”: “How is SHOTLink data integrated into

TOURCast? Once the shot information is collected on the course, it is transmitted wirelessly back

to the SHOTLink truck onsite. From there, it … is transmitted back to the Data Center … and then

into TOURCast for users to follow all the action on their computers. From collection to its display

in TOURCast, the entire data transmission process takes just seconds.”) (emphases added) Thus,

the advantages that Dr. Valerdi ascribes to the asserted patents (filed for in 2011) by using spotters

with handheld devices collecting and disseminating data in real time was already in the prior art.

         Because the asserted claims are directed to the abstract idea of collecting, processing, and

distributing information for display using conventional computer and network technology, and

because there is no inventive concept added in the claim limitations, the asserted claims are invalid

under 35 U.S.C. § 101.

         E.     The Claims Are Invalid For Failing To Meet The Written Description
                Requirement

         Paragraph 1 of 35 U.S.C. § 112 requires that “[t]he specification shall contain a written

description of the invention, and of the manner and process of making and using it, in such full,


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clear, concise, and exact terms as to enable any person skilled in the art to which it pertains, or

with which it is most nearly connected, to make and use the same.” 35 U.S.C. § 112 ¶ 1. “The test

for the sufficiency of the written description ‘is whether the disclosure of the application relied

upon reasonably conveys to those skilled in the art that the inventor had possession of the claimed

subject matter as of the filing date.’” Vasudevan Software v. MicroStrategy, Inc., 782 F.3d 671,

682 (Fed. Cir. 2015) (quoting Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed.

Cir. 2010) (en banc)). “[T]he test requires an objective inquiry into the four corners of the

specification from the perspective of a person of ordinary skill in the art.” Vasudevan, 782 F.3d at

682 (citing Ariad, 598 F.3d at 1351). Whether the written description adequately supports a patent

claim is a question of fact. Id. (citing Ariad, 598 F.3d at 1355). “A party must prove invalidity for

lack of written description by clear and convincing evidence.” Id.

         The shared specification of the ’832 and ’552 patents lack any disclosure for several claim

limitations found in the asserted claims. Thus, the patents fail to convey to those skilled in the art

that the inventor had possession of that claimed subject matter as of the filing date. See

Transperfect Glob., Inc. v. Matal, 703 F. App'x 953, 963 (Fed. Cir. 2017) (affirming PTAB

decision that patent was invalid because the specification provided no description of a browser

plug-in performing translations of hyperlinked webpages); Realtime Data, LLC v. Morgan Stanley,

554 F. App’x 923, 937 (Fed. Cir. 2014) (affirming summary judgment of invalidity for lack of

written description where patent “contain[ed] limited language and no descriptive content and

hence fail[ed] to show that Realtime invented or had possession of content-based or content-

dependent data decompression”); Gentry Gallery, Inc. v. Berkline Corp., 134 F.3d 1473, 1479-80

(Fed. Cir. 1998) (reversing the district court and holding claims invalid for lack of written




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description where the specification did not support claims in which the location of recliner controls

is other than on a console).

                      1.       ’832 patent claims 9 and 14, ’552 patent claim 18: “wherein the
                               condition of the ball includes a location of the ball relative to the
                               GPS survey”

         This claim limitation, found in three dependent claims in the asserted patents, was not part

of the originally filed claims. Instead, it was added in the middle of prosecution of the ‘832 patent.

Ex. 13, Response to Office Action, August 5, 2013, at 3. Because there is no support for this

limitation in the specification (or the originally filed claims), it was new matter when added. These

claims are invalid for lack of written description.

         Specifically, the specification does not disclose that the “condition of the ball includes a

location of the ball relative to the GPS survey.” Ex. 14, Knutson Invalidity Report ¶ 55. To the

contrary, as detailed above in connection with noninfringement regarding “condition of the ball,”

the specification explicitly differentiates “condition of the ball” and “location of the ball” as

distinct data items. See Ex. 1, ’832 patent at 7:51-56 (“For example, the spotter can input

information about the location, condition, and ‘lie’ of a particular player's ball, the order of play

of various players in the group, ….”); see also, id. at 8:7-14 (“In some embodiments, the circuitry

of the portable device used by the spotter is programmed to record and transmit various

characteristics, such as but not limited to golfers appearance, golfers equipment, golfers ball

general location, golfers ball GPS location, golfers ball condition, golfers strokes as they occur,

…”); id. at Fig. 11 (separately depicting condition of the ball (“Ball: Dirty” and “Ball: Clean”) and

ball location via arrows pointing to locations on a map of a golf hole).

         Nowhere does the specification teach the illogical idea that the condition of the ball

includes a location of the ball, let alone one “relative to the GPS survey.” Notably, column 14,



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lines 14-28 discloses using GPS technology to collect and record data from the golf course, but is

completely silent on any bearing on the attribute of “condition of the ball”:

              Using GPS technology, it is possible to collect and record relevant data
              pertaining to a particular golf course, ahead of time, to generate a coverage
              map of the golf course. This data can then be incorporated into the functions
              of the present gathering and broadcasting system to enable the patron to
              track the location of golfers around the golf course, based on the GPS
              information, using the handheld device. The handheld devices used by the
              spotters and the patrons may or may not be the same device with merely
              different programming. However, if they are the same device, the GPS
              capabilities of spotter's device would be enhanced for greater accuracy in
              locating the position of the ball of a player by incorporating additional
              hardware, which may be connected to the handheld device by wire or
              wirelessly.

See Ex. 1 at 14:14-28.

         Because the patent’s disclosure does not demonstrate that the inventor was in possession

of “wherein the condition of the ball includes a location of the ball relative to the GPS survey” as

part of his invention at the time he filed his patent application, claims 9 and 14 of the ’832 patent

and claim 18 of the ’552 patent are invalid for lack of written description.

                       2.        ’832 patent claims 1, 5: “the production module being configured
                                 to display transmitted input data such that the production module
                                 selectively distributes a portion of the transmitted input data to an
                                 external television network based on characteristics of displayed
                                 input data”; ’552 patent claim 1: “the production module being
                                 configured to display distributed input data so as to selectively
                                 distribute at least a portion of the distributed input data to an external
                                 television network based on characteristics of displayed input data”;
                                 ’552 patent claim 13: “the production module being configured to
                                 display distributed input data so as to selectively distribute a portion
                                 of the transmitted input data to an external television network based
                                 on characteristics of displayed input data”

         The specification of the ’832 and ’552 patents lacks any disclosure that the production

module is configured to selectively distribute a portion of the transmitted input data to an external

television network based on characteristics of displayed input data. Rather, the specification



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describes that a human being (and not the production module as required by the claims), such as

a “network engineer and/or a member of the golf event broadcasting crew,” decides “whether

and/or when to transmit the input data from the input spotter module for instance recall for

television (TV) production.” See Ex. 1, ’832 patent at 7:12-19.

         Other portions of the specification confirm the lack of disclosure that the production

module selectively distributes the transmitted input data based on characteristics of displayed input

data. For example, column 6, lines 52-53, states that the production module “collects, processes,

organizes, and distributes the information for display,” but does not provide any explanation of

what the processing or organization consists of. See also Ex. 14, Knutson Invalidity Report ¶ 52.

         Thus, the asserted claims are invalid for lack of sufficient written description.

                      3.        ’832 patent (claim 1) and ’552 patent (claim 1): “the first portable
                                device being configured to present information regarding the
                                location and distance of the selected player's ball relative to the map
                                of the golf course in real time after the ball has been hit by the
                                selected player”; ’832 patent (claims 5, 13): “the first portable
                                device being configured to present information regarding the
                                location and distance of the player's ball relative to the map of the
                                golf course in real time after the ball has been hit by the player”

         If “to present” in these phrases is interpreted to mean “to display,” an interpretation that

Plaintiff embraces (Ex. 4, Valerdi Dep. at 53:12-17), these claims are not supported by the

specification of the ’832 and ’552 patents. Specifically, while the specification states that the

second portable device (i.e., the patron’s device) can receive a map and display information

regarding location of the ball relative to a map, it does not disclose that the inventor possessed the

idea of having the first (spotter’s) portable device include the same functionality. See Ex. 1, ’832

patent at 2:22-31 (“The sporting event can be a golf tournament, and the method can include

recording geographical and/or topographical information of a golf course of the tournament to

generate a GPS coverage map of the golf course, transmitting the GPS coverage map to the second


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portable device, and selectively displaying graphical representations of golf ball locations relative

to the golf course after the golf ball has been hit by a player of the golf tournament, based on the

GPS coverage map and the location of the first portable device transmitted to the second portable

device.”) (emphases added).

         Without a supporting disclosure, a person of ordinary skill in the art would not be able to

determine that the Plaintiff was in possession of this limitation. Ex. 14, Knutson Invalidity Report

¶¶50-51.

                      4.       ’832 patent claim 9 and ’552 patent claim 5: “the first device is
                               configured … to selectively display a GPS survey of the golf
                               course”

         For the same reasons explained immediately above, the specification does not describe

that the first device can display a GPS survey of the golf course. Id.

V.       CONCLUSION

         For the foregoing reasons, Defendant PGA TOUR respectfully requests that the Court grant

it summary judgment of noninfringement and of invalidity.

Date: March 11, 2022
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 11, 2022, I electronically served the foregoing document on

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